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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
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     Assistant Federal Defender
3    2300 Tulare Street, Suite 330
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4    Telephone: 559-487-5561/Fax: 559-487-5950
     ann.mcglenon@fd.org
5
     Attorney for Defendant
6    Juan Valadez, Jr.

7
8
                               IN THE UNITED STATES DISTRICT COURT
9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   )    Case No. 1:14-cr-00207-AWI-BAM
                                                  )
12                     Plaintiff,                 )    STIPULATION AND ORDER TO
                                                  )    CONTINUE STATUS CONFERENCE
13    vs.                                         )
                                                  )
14    JUAN CARLOS REYES, et al.,                  )    DATE: July 20, 2015
                                                  )    TIME: 10:00 A.M.
15                   Defendant.                   )    JUDGE: Honorable Anthony W. Ishii
                                                  )
16                                                )

17           IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Assistant United States Attorney Melanie L. Alsworth, Counsel for Plaintiff, and
19   Assistant Federal Defender, Ann H. McGlenon, Counsel for Defendant Jose Valadez, Jr., and
20   Edward M. Hodgkins III, Counsel for Defendant Juan Carlos Reyes, that the status conference
21   scheduled for July 6, 2015 at 10:00 a.m., before Honorable Anthony W. Ishii may be continued
22   to July 20, 2015 at 10:00 a.m.
23           The reason for this continuance is to provide necessary time for continued negotiations.
24   The requested continuance will conserve time and resources for both parties and the court.
25   The parties agree that the delay resulting from the continuance shall be excluded in the interests
26   of justice, including but not limited to, the need for the period of time set forth herein for
27   effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and
28   (iv).
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1    Dated: July 1, 2015                           BENJAMIN B. WAGNER
                                                   United States Attorney
2
                                                   /s/ Melanie L. Alsworth
3                                                  MELANIE L. ALSWORTH
                                                   Assistant United States Attorney
4                                                  Attorney for Plaintiff

5
6    Dated: July 1, 2015

7                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
8
9                                                  /s/ Ann H. McGlenon
                                                   ANN H. MCGLENON
10                                                 Assistant Federal Defender
                                                   Attorney for Defendant
11                                                 JOSE VALADEZ, JR.

12   Date: July 1, 2015                            /s/ Edward M. Hodgkins, III
                                                   EDWARD M. HODGKINS, III
13                                                 Attorney for Defendant
                                                   JUAN CARLOS REYES
14
15                                               ORDER

16            For the reasons set forth above, the continuance requested is granted for good cause.

17
     IT IS SO ORDERED.
18
     Dated:    July 1, 2015
19                                                SENIOR DISTRICT JUDGE
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